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                                           May 9, 2025

VIA ECF
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Cranford, New Jersey 07016

              Re:    AA Medical, P.C. v. Iron Workers Local 40, 361 & 417 Health Fund
                     Civil Action No.: 22-CV-01249 (SJB)(LGD)

Gentlemen:

       This firm is counsel to Defendant, Iron Workers Local 40, 361 & 417 Health Fund,
regarding the above referenced matter.

       As per Judge Bulsara’s Motion Bundle Rules, enclosed please find Defendant’s Notice of
Motion for Summary Judgement, Declaration of Thomas P. Keane, Esq. with exhibits, Affidavit
of Brian Sabbagh with exhibits, Rule 56.1 Statement of Undisputed Material Facts and
Memorandum of Law in Support of Motion for Summary Judgment.

      Please be aware that a copy of this letter was uploaded to the Court’s Electronic Filing
System this date.

              Thank you.

                                           Very truly yours,

                                           COLLERAN, O'HARA & MILLS L.L.P.

                                           By:           /s/ Thoms P. Keane
                                                         THOMAS P. KEANE
3028-0010
